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      B12 Consulting, LLC
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 12                              UNITED STATES DISTRICT COURT
 13                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
 14                                      SOUTHERN DIVISION
 15
      B12 CONSULTING, LLC ,                            Case No.
 16
                                                       Date Complaint Filed:
 17                       Plaintiff,
 18
                                                       COMPLAINT FOR DAMAGES:
      vs.                                               (1) BREACH OF CONTRACT
 19                                                     (2) QUANTUM MERUIT
 20   UST GLOBAL, INC.,
                                                       DEMAND FOR JURY TRIAL
 21                       Defendant.
 22

 23
            Plaintiff, B12 CONSULTING, LLC, (“B12”) files its Complaint against
 24
      Defendant, UST GLOBAL, INC., (“UST”), and in support, respectfully shows as
 25
      follows:
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                                                       1
                                 Complaint For Damages, Demand for Jury Trial
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  1                                    INTRODUCTION
  2           This breach of contract case stems from UST’s breach of a Master Services
  3   Agreement (“MSA”) with B12. Per the MSA, UST engaged B12 to provide IT
  4   support services for various UST projects. B12 fully performed its obligations
  5   under the MSA and associated Statements of Work (“SOWs”), and invoiced UST
  6   for services B12 provided. Even though UST does not dispute that it owes B12
  7   over $1.3 million in unpaid invoices, UST refuses to pay. UST’s failure to comply
  8   with its contractual obligations under the MSA leaves B12 no choice but to bring
  9   the causes of action alleged below.
 10                                          PARTIES
 11           1.    B12 Consulting, LLC is a Texas limited liability company whose sole
 12   member, Dr. Neena Biswas, is a Texas citizen and resident. B12 provides IT
 13   staffing and related services to clients such as UST.
 14           2.    UST Global Inc is a Delaware corporation with its principal place of
 15   business in Aliso Viejo, California. Headquartered at 5 Polaris Way, Aliso Viejo,
 16   California 92656, UST is a global technology company that engages subcontractors
 17   such as B12 to provide IT staffing support for UST projects in the United States.
 18   UST may be served with process through its registered agent, National Registered
 19   Agents, Inc. (C1941323), at 818 West Seventh Street, Suite 930, Los Angeles,
 20   California 90017. UST may also be served at its corporate headquarters at 5 Polaris
 21   Way, Aliso Viejo, California 92656, by serving any of the following authorized
 22   employees: Amanda Garcia, Vivian Imperial, Gladys Aguilera, Gabriela Sanchez,
 23   Daisy Montenegro, Beatrice Casarez-Barrientez, Carlos Paz, Albert Damonte,
 24   Jessie Gastelum, or Peter Cayetano.
 25   / / /
 26   / / /
 27   / / /
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  1                                      JURISDICTION AND VENUE
  2            3.       The Court has jurisdiction over this matter pursuant to 28 U.S.C §
  3   1332(a)(1) because the parties are completely diverse, and because the amount in
  4   controversy exceeds $75,000.
  5            4.       Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)(1)
  6   because UST is a resident of this district.
  7            5.       Jurisdiction and venue are also proper pursuant to Section 24 of the
  8   MSA, which provides that “the sole forum for resolving disputes arising under or
  9   relating to [the MSA] are the state and federal courts located in the state in which
 10   the principal business office of the defendant is located.”
 11                                        FACTUAL BACKGROUND
 12            6.       B12 and UST entered into the MSA on October 20, 2014. See Exhibit
 13   “A,” attached hereto and incorporated herein by reference. Per the MSA, B12 as
 14   Subcontractor agreed to provide IT support services to UST as Client, with specific
 15   services to be identified in SOWs issued by UST to B12. UST agreed to pay B12
 16   for those IT support services based on a schedule set out in the MSA.
 17            7.       Thereafter, UST issued SOWs for B12 to provide IT support services
 18   for several UST projects. After providing required services, B12 invoiced UST for
 19   its work. All B12 invoices were prepared and provided to UST within thirty (30)
 20   days of completion of the services detailed in B12’s invoices. The invoice numbers,
 21   dates, and amounts owed are listed in the attached Exhibit “B.” The total amount
 22   due and owing from UST to B12 is $1,471,530.52.1
 23            8.       UST never disputed the quality of B12’s work or the amount owed on
 24   $1,378,587.60 of the invoices at issue in this suit.2
 25
      1
       The invoices listed in Exhibit “B” total $1,614,842.52. UST directly paid subcontractors $143,312 for services
 26   provided in connection with SOWs issued to B12. B12 has credited UST for those payments, leaving $1,471,530.52
      outstanding.
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        During the extensive negotiation period that preceded the filing of this lawsuit, UST identified certain B12 invoices
 28   that it contends have already been paid or were otherwise disputed. The vast majority of B12’s invoices have never
      been contested.

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  1           9.     UST’s obligation to pay for B12’s work cannot be seriously disputed.
  2   Yet, UST has failed and refused to pay for B12’s services under the MSA despite
  3   B12’s repeated demands for payment.
  4

  5
                                  FIRST CAUSE OF ACTION
                                  (BREACH OF CONTRACT)
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              10.    Plaintiff reincorporates the facts alleged above.
  7
              11.    B12 and UST entered into a valid, enforceable MSA. See Exhibit “A.”
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              12.    B12 performed or was excused from performing its obligations under
  9
      the MSA and the SOWs UST issued pursuant to the MSA.
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              13.    UST breached the MSA by failing to pay B12 the amounts owed for
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      B12’s services, as reflected in the invoices B12 prepared and provided to UST
 12
      during the course of performance of the contract.
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              14.    As a result of UST’s breach, B12 has been damaged in the amount of
 14
      $1,471,530.52, the total amount of unpaid invoices owed by UST to B12. See
 15
      Exhibit “B.”
 16
                                SECOND CAUSE OF ACTION
 17
                                      (QUANTUM MERUIT)
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              15.    Plaintiff reincorporates the facts alleged above.
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              16.    Pleading in the alternative, to the extent the MSA is not a valid,
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      enforceable contract, B12’s services to UST were rendered under an understanding
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      and expectation of both parties that compensation therefor was to be made.
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              17.    B12 acted pursuant to an explicit or implicit request for services by
 23
      UST.
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              18.    The services provided by B12 conferred a benefit on UST. The
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      amount of that benefit is quantified in the attached Exhibit “B.”
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      / / /
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      / / /
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                                                 PRAYER
     2         Plaintiff, Bl2 CONSULTING, LLC, respectfully requests and prays that
     3   Defendant, UST GLOBAL, INC., be cited to appear in this cause, and that Plaintiff
     4   have judgment against Defendant for all relief sought herein, as follows:
     5         a.     Compensatory damages in an amount to be determined at trial;
     6         b.     All costs of suit, including without limitation attorneys' fees, litigation
     7   costs, and expert witness fees to the extent permitted under California law;
     8         C.     Pre- and post-judgment interest in the maximum amount permitted by
     9   law; and
    10         d.     Such other and further relief, both special and general, at law or in
    11   equity, to which Plaintiff may be justly entitled.
    12

    13   Dated: September I   tt-, 2020             Respectfully submitted,
    14                                              FROST BROWN TODD, LLC
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                                                    By4LI--
                                                        Todd A . Harlow
                                                        [Pro Hae Vice Forthcoming]
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   25                                                   Attorneys for Plaintiff,
                                                        B12 Consulting, LLC
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     1
                               DEMAND FOR JURY TRIAL

     2        Plaintiff, B12 CONSULTING, LLC, hereby demands trial by jury.
     3
         Dated: September I(\, 2020              Respectfully submitted,
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                                                 FROST BROWN TODD, LLC
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                                                 By:~/L
                                                      Todd A. Harlow
                                                      [Pro Hae Vice Forthcoming]
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                                                     Attorneys for Plaintiff,
    16                                               B12 Consulting, LLC
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